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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Nevest Coleman
                                Plaintiff,
v.                                                   Case No.: 1:18−cv−00998
                                                     Honorable Martha M. Pacold
City of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 20, 2024:


        MINUTE entry before the Honorable Martha M. Pacold: The Officer Defendants
are directed to file by August 23, 2024 a status report listing the docket number of the
sealed version of [267]. Mailed notice. (jg, )




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